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LBKG 2019-01-22 no 66
Tax Assessment Act

§ 33 A

As last amended by: L 2012 1395 § 3 paragraph. 1 no. 2

Effective: 2012-12-29

A person, who is liable under the withholding tax law §1, and who resides abroad for at least 6
months for no other reason than to work in direct connection with the stay abroad, and without
any sort of disruptions to said residency, including vacation and the like, and who accumulates
no more than 42 days of earned income from self-employment, will have their income tax
reduced proportionally for the amount that is classified as foreign income. The reduction does
not include any wages that can be attributed for work in the kingdom (of Denmark). In
calculating the aforementioned 6 month period, stays onboard a Danish vessel registered in the
Danish International Ship Register, cf. the Act on the Taxation of Seafarers, are considered as a
residency abroad. If the 6 month requirement is not attained, the tax liability pursuant to the rules
in §1 of the withholding tax law shall be pro-rated for the wages acquired in the period during
which the tax liability existed if the conditions in the first sentence is otherwise fulfilled.

Paragraph 2. Paragraph 1 shall not apply to earnings from employment outside the realm of the
Danish state or other Danish public authority, if the transferee of the said wage income receives
benefits under §7, no. 15 or §9A. Similarly, paragraph 1 does not apply to wages acquired from
the Danish state or other public authority if the salary is determined under a collective agreement
and it does not expressly state in the agreement that the salary is fixed in accordance with
paragraph 1.

Paragraph 3. If there exists a double taxation agreement for a person who is not employed by the
Danish state or another public authority gives Denmark the right to tax income, the total income
tax is reduced by half of the amount that is proportionally reduced on the foreign income. The
same applies to persons undertaking system exports for the Danish state or other Danish public
authorities.

Paragraph 4. The Minister of Taxation may establish rules on the postponement of tax
collection.

Paragraph. 5. Paragraphs 1-4 correspondingly applies to deaths covered by the Estate Tax Act
§1, paragraph. 2
